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                                                                 CHIESA SHAHINIAN & GIANTOMASI PC

                                                                                    ONE BOLAND DRIVE
                                                                                 WEST ORANGE, NJ 07052




                                                                                         LEE VARTAN
                                                                                  lvartan@csglaw.com
                                                                                     (O) 973.530.2107
                                                                                      (F) 973.530.2307


                                        September 25, 2019



Via ECF
Honorable Mark Falk, U.S.M.J.
United States Post Office and Courthouse
1 Federal Square
 Newark, NJ 07102

       Re:     Hale v. Creditors Relief LLC, 2:17-cv-02447-JMV-MF

Dear Judge Falk:

        I represent Defendant Creditors Relief LLC in the above-captioned action. During the second
status conference call with the Court this afternoon, I was dropped from the call, and unable to
reconnect. I understand from Plaintiff’s counsel that the call continued for a few minutes after I was
dropped from the line.

        At the time my connection was lost, it was suggested by Your Honor that the parties arrange
to attend an in-person status conference with the Court to discuss the case. I believe that is a good
suggestion, and stand ready to attend at the Court’s convenience. Also, right before I was dropped,
there appeared to be some confusion around Defendant’s pending motion.

        On August 9, 2019, Defendant filed a Motion to Deny Class Certification based, in part, on
discovery materials demonstrating that Defendant does not use an auto-dialer as defined by the
Telephone Consumer Protection Act (“TCPA”), and therefore has not violated the TCPA on an
individual or class basis. In response to Defendant’s Motion, Plaintiff asked for additional time to
respond, which Defendant consented to, and a briefing schedule was set by Judge Vazquez. That
briefing schedule requires Plaintiff to respond to Defendant’s Motion on or before October 7, 2019.
The Motion was administratively terminated by Judge Vazquez, but only until Plaintiff’s opposition
was filed on or before October 7.

       Defendant maintains that it is critical for its Motion to be fully briefed and decided without
unnecessary delay. The undisputed evidence demonstrates that Defendant does not use an auto-dialer
and, consequently, has not violated the TCPA. Litigating this case for another two years will not
change that basic fact.




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       We thank Your Honor for his time, and stand ready to attend an in-person conference when
scheduled by the Court.


                                          Respectfully submitted,

                                          /s/ Lee Vartan

                                          Lee Vartan




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